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                             EXHIBIT G
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                                   JOSEPH L. GRANT
                             4201 MOSS CREEK COURT
                    MATTHEWS, NORTH CAROLINA 28105
                                PHONE 704 617 0336


   May 9, 2019


   Mr. Edward S. Bott
   Greensfelder, Hemker & Gale, P.C.
   10 South Broadway, Suite 2000
   St. Louis, MO 63102


   Re: Susman, et al. v. The Goodyear Tire & Rubber Company


   Dear Mr. Bott:


   I am an independent tire consultant and failure analyst of tires. I have a Bachelor of
   Science Degree in Mechanical Engineering from Fenn College of Engineering at Cleveland
   State University and graduated in 1971. I was employed as a tire engineer for more than
   34 years by Continental Tire North America, Inc., previously known as The General Tire
   & Rubber Company and Continental General Tire, Inc. From September 1988 to January
   of 1993, I was the Director of Commercial Tire Technology.         From 1993 until my
   retirement at the end of 2005, I was the Director of Product Analysis, where I was
   responsible for the failure analysis of tires manufactured by Continental Tire North
   America, Inc., and also analyzed other manufacturers’ tires. During my career, I had
   responsibilities for the design, development, testing and the forensic analysis of tires.
   These responsibilities included design, development and testing of tires to ensure they
   complied with the performance requirements of the Department of Transportation and
   Continental Tire as well as various vehicle manufacturers.


   All during my many years of tire development work, I was heavily involved with testing
   of tires and analyzing field performance of tires including tires returned and adjustment
   data. As part of this tire development responsibility, I was also involved with supplying
   and assisting tire companies in various other countries where General Tire and
   Continental Tire sold technology.




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   I am also a member of the Society of Automotive Engineers, the American Chemical
   Society and the American Society of Mechanical Engineers and I have represented
   Continental Tire at the Rubber Manufacturers Association and Tire and Rim Association.


   I have been engaged as an independent consultant in the field of tire failure analysis for
   approximately (20) years for a wide variety of clients. In this regard, I have presented
   expert opinion testimony in cases in both federal and state courts throughout the
   United States. I have qualified as an expert in the field of tire failure analysis in both
   State and Federal Courts in California, Texas, Arizona, Florida, Maryland, North Carolina,
   South Carolina, Mississippi, Missouri, Georgia, Nebraska, Idaho, New York, Pennsylvania,
   Tennessee, Louisiana, Iowa, Oklahoma, Minnesota, Montana, Illinois, New Mexico,
   Wisconsin, Virginia and Arkansas.       I have never been found to be unqualified as an
   expert in the field of tire failure analysis by any court.


   On November 15, 2018, in Matthews, North Carolina, I personally examined the subject
   tire and wheel as well as the right front, left front and left rear companion tires and
   wheels. Additionally, I had X-Rays taken of the subject tire and the three companion
   tires. I have also reviewed various case specific materials including the protective order.


   I am submitting this report pertaining to my findings, opinions and conclusions from my
   forensic examination of the subject tire and wheel, the three (3) companion tires and
   wheels, the X-Rays and my review of various case specific materials.


   A.     BACKGROUND


   According to the State of Nebraska Investigator’s Motor Vehicle Accident Report and
   other materials, a single vehicle accident occurred on May 1, 2015 at 6:57 am on
   Interstate 80, 2440 feet west of milepost 294.000 and three (3) miles east of the Shelton
   overpass in Hall County, Houston, Nebraska. The accident occurred 4.00 miles south
   and 2.00 miles east of Shelton, Nebraska. According to the report, a 2003 Chevrolet
   SC1 Pickup truck (VIN GCEC14X33Z115363) was being driven east bound on I-80 by
   Larry R. Blair when the right rear tire blew out.        The Pickup truck crossed into the
   median and rolled. The vehicle came to rest on the west bound shoulder. Shane A.
   Loveland and Jacob S. Summers were occupants in the vehicle at the time of the
   accident.



   B.     DISCUSSION


   A steel belted radial tire is a complex, laminate structure, typically containing twenty or
   more different components and a dozen or more different compounds.             Steel belted
   radial tires are designed to carry vehicle loads in a particular application under a wide

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   variety of operating conditions.     The performance and durability of any steel belted
   radial tire is dependent on the service conditions that the tire is exposed to in its use or
   application throughout the life of the tire. Additionally, the compounds and materials
   used in steel belted radial tires are designed to function at the typical operating
   temperatures created by the tire's in-service use. Because of its complex nature, a steel
   belted radial tire can fail due to a wide variety of severe or abusive service-related
   factors. Just because a tire fails or loses air does not mean a tire is defective.


   It is widely recognized within the tire industry that tread/belt separations and/or
   detachments result from a wide variety of in-service conditions such as overdeflection
   (overloading and/or underinflation), unrepaired and improperly repaired punctures or
   injuries, wear into the belt structure, impact damage, road hazards, mounting damage,
   high speed operation, vehicle conditions like misalignment and other suspension issues,
   improper storage, and other types of in-service damage or abuse. Each of these service
   conditions normally changes the physical condition of the tire or otherwise leaves
   evidence of the underlying cause of the tread/belt separation.


   It is not unusual for a tire or tires to become damaged and/or lose air and become flat
   during a crash sequence. Tires get cut, punctured, impacted, abraded and even ripped
   and torn apart from the surfaces and objects that they come into contact with during a
   crash sequence. A tire that looks like a tire blow out may actually have that appearance
   as a result of hitting an object, for example a tree or a guardrail, causing the tire to be
   cut and blow out. The tread and/or shoulder area of the tire can also get snagged on a
   bent piece of sheet metal during the crash sequence, ripping off a portion or all of the
   tread and belts and thus looking like, from even a short distance away, a tread/belt
   separation. Tires also lose air, as an example, when dirt and/or roadside debris get
   lodged between a wheel flange and a tire during a sideways slide off the road. A tire
   can also become unseated from the wheel flange and at times even be totally ripped off
   a wheel.   As a last example, a tire that loses air during a crash sequence and then
   continues rotating or not rotating along the ground can experience very extensive run
   flat or other types of damage.


   As a result, it is widely recognized within the tire industry that a physical examination of
   the tire is almost always necessary to determine the underlying cause of any tire
   disablement. Without a detailed forensic examination of the tire, it is rarely possible to
   reach an opinion or conclusion as to the cause of a tire disablement with any reasonable
   degree of engineering certainty.




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   C.     TIRE MANUFACTURING (Generic Description)


                                        RAW MATERIALS


   The manufacture of a steel belted radial tire starts with the selection of raw materials
   including rubber, carbon black, process oil, chemicals, wire and textiles.      The main
   ingredient, rubber, comes from synthetic rubber manufacturers and from natural rubber
   plantations. Rubber chemicals include sulfur, accelerators, process aids, antioxidants,
   antiozonants, zinc oxide, stearic acid and specialty chemicals.


   High tensile single strand steel wire is used for beads. Brass-coated multi-strand steel
   wire is used for the belts and is obtained from outside suppliers.


                                        RUBBER MIXING


   Rubber, either synthetic or natural, is cut to obtain the proper weight and size for the
   mixer. After the rubber has been cut, it is transferred to the mixer weight scales. The
   various ingredients are weighed, measured and coded by type of compound to be
   mixed. There are specifications or formula cards for each type that is mixed.


   After the batch has been assembled, it is taken by conveyor to the mixer. The operator
   then adds the various pre-weighed ingredients into the mixer in the order specified on
   the specification or formula card. The ingredients are then dispersed in the mixer via
   the use of two large rotors which rotate toward each other causing the ingredients to be
   blended in the rubber as the rotor tips smear these ingredients against the mixer walls.
   The batch is mixed for a specific sequence and length of time according to the
   specification, which varies from formula to formula, and is then dropped from the mixer
   onto a batch-off mill or extruder. This functions to sheet the rubber so it can be easily
   handled and also tends to cool and blend it. After the rubber is sheeted off, it passes
   through an anti-stick solution, then into drying racks and finally is automatically laid on
   a skid in one continuous strip. When one skid is full, it is moved aside, and another
   takes its place.   This mixing process may be repeated one or more times, adding
   additional chemicals. Each batch of mixed rubber is used in a significant number of
   tires depending on the size and construction features of the tires being produced.


   From this point on, tire manufacturing typically splits into three separate paths:
   construction of the beads, calendering of components, i.e. innerliner, ply and belt
   materials, and extrusion of the treads and other components on various extruders.




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                                              BEADS


   Beads are processed from bronze plated high-tensile steel wire which is fed from a
   spool through a series of guides to the bead-building machine. It first passes through
   an extruder which insulates the wire with insulating rubber compound. The bead wire is
   wrapped around a mandrel for a specified number of turns per specified tire size and
   construction.   Depending upon the bead construction, rubber bead fillers and fabric
   flippers may be added.


                                          TIRE BUILDING


   All parts of the tire are brought together in a tire assembly operation. The tire assembly
   is typically done in two stages. The first stage is called the carcass assembly stage and
   the second stage is called the tread/belt assembly stage.


   The tire assembler at the initial assembly stage typically applies the sidewalls, the
   innerliner and the carcass material onto the carcass drum. Each of these components is
   individually placed and/or centered on the building drum.         The machine stitchers
   engage and stitch across the components after the assembly of the appropriate
   components.     Two steel beads are then placed on the ends of the drum over the
   components. After the beads have been placed, the carcass material that extends over
   the ends of the drum is turned up around the beads. Other components are applied as
   required.


   At the belt/tread assembly stage, the assembler first applies and centers the two
   individual belts. The tread is then placed on top of the belts and centered. As this is
   accomplished, the drum rotates and stitches the belt/tread assembly.


   The forming of the carcass assembly into the tread/belt assembly is the final step in the
   assembly of the uncured tire.


   This is completed with the use of a transfer ring that transfers over the belt/tread drum
   which collapses as the transfer ring expands and picks up the belt/tread assembly.


   The transfer ring with the tread belt assembly moves into position over the carcass. The
   carcass then forms up into belt/tread assembly.         The transfer ring releases the
   belt/tread assembly and moves away.


   Stitchers engage and stitch from tread center to tread ends. The tire is removed from
   the drum, visually inspected by assembler, and placed on a conveyor or in a cart. The
   assembler also performs a visual inspection of each component that goes into the tire.


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                                           TIRE CURING


   The tire is cured for a prescribed length of time, depending upon its size and
   specification. In the tightly sealed mold, heat and pressure over time cause a chemical
   change, or vulcanization, which transforms the many parts of the tire into an integral
   unit. At the end of the curing cycle, the mold opens and the bladder collapses and
   retracts from the tire. The tire is moved to a conveyor behind the press line and carried
   to final inspection and testing.


   The boundaries between the various material laminate layers that make up a tire do not
   “disappear” or “homogenize” during the curing process. As a result, process marks that
   are imparted onto the surfaces of the rubbers during manufacture are cured in the tire
   and do not disappear.     Each layer of material in a tire is visibly distinct in a tire and
   these layers of materials as well as any manufacturing process marks can be seen very
   clearly when a tire is analyzed.     A liner pattern mark left on the rubber from the
   protective liners used during the manufacturing process is one example of a
   manufacturing process mark that does not disappear during curing or vulcanization.


                                           FINAL FINISH


   In the final finish operation, the rubber vents and rubber flash are trimmed from the tire
   and each tire is inspected both visually and tactilely.     The tire is then checked for
   uniformity and balance compliance.


   As described above, tires are manufactured utilizing numerous manufacturing processes
   such as mixing of rubber, extrusion and calendering.         Large quantities of tires are
   produced each week utilizing the same mixed rubber, calendered components and
   extruded components. As a result, if there was a problem with manufacturing or design
   of the tires such as inadequate compound development and/or improper mixing
   manufacturing procedures, more than one tire would be affected.



   D.     EXAMINATIONS


   During my examination of the subject right rear tire and wheel and the three (3)
   companion tires and wheels, I took eighteen (18) pages of inspection notes as well as
   two hundred eighty-six (286) digital photographs.




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   SUBJECT RIGHT REAR TIRE AND WHEEL


   The subject right rear tire was identified by information molded on the sidewalls as
   follows:


   GOODYEAR WRANGLER HT
   LT235/85R16 M+S
   LOAD RANGE: E
   MAXIMUM SINGLE LOAD: 3042 LBS @ 80 PSI
   MAXIMAUM DUAL LOAD: 2778 LBS @ 80 PSI
   TUBELESS RADIAL
   TREAD: 4 PLY, 2 PLY POLYESTER, 2 PLY STEEL
   SIDEWALL: 2 PLY POLYESTER
   DOT: MDORNJHV244


   The DOT number indicates the subject right rear tire was manufactured by The
   Goodyear Tire & Rubber Company in Gadsden, Alabama during the 24th week of 1994.


   The subject right rear wheel was a 16 X 6.5J wheel with a Top Seal TR 600HP rubber
   snap-in valve. The subject tire and wheel were separate during the examination.


   My examination of the subject right rear tire revealed, as presented to me, a detachment
   of a portion of the tread and top steel belt. The average remaining tread groove depth
   was 8.5/32nds of an inch. The tread hardness measured 84 Shore A Durometer. There
   were a few stones embedded in the tread sipes.         The serial side (outboard) tread
   shoulder was abraded in various areas 360 degrees.


   The tire was a black sidewall tire. The tire was mounted with the serial side, outboard.
   Using a clock face as an approximate locating reference system with the DOT serial
   number at 12:00, the valve was located at 8:00.


   The tread and top steal belt was detached and missing from 4:00 on the serial side and
   6:00 on the opposite serial side to 10:30 on the serial side and 12:30 on the opposite
   serial side.


   The tread and top steel belt was partially detached from 10:30 on the serial side and
   12:30 on the opposite serial side to 1:00 on the serial side and 12:40 on the opposite
   serial side where still attached. The serial side top belt cord ends from 10:30 on the
   serial side to 12:00 on the opposite serial side were loose, bare, rusted, bent and
   tangled.




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   Overall, steel belt cords were adhered in rubber. There were exposed steel cords that
   were rusted.


   The rubber remaining over bottom steel belt in detached region of crown was worn with
   lateral abrasion marks.


   At 11:50 in the crown region, there were four (4) broken bottom steel belt cords and
   filaments.


   There was multi-level rubber tearing on all detached rubber surfaces.         Additionally,
   there was multi-level tear lines along the serial side and opposite serial side bottom belt
   edge in detachment region.


   There were a few permanent treads in bottom steel belt in detachment region.


   There was a localized region of multi-level rubber (separation) tearing on serial side in
   rubber over bottom belt from 9:30 on the serial side to 12:00 on the opposite serial side
   extending to crown at 10:30.


   There was a localized region of multi-level rubber (separation) tearing on the opposite
   serial side in rubber over bottom belt from 9:30 on the opposite serial side to 11:00 on
   the opposite serial side extending to crown at 10:15. There was polishing visible in the
   10:15 opposite serial side region.


   There was a one (1) inch wide wheel weight impression on the serial side at 4:00 with a
   corresponding one (1) inch wide wheel weight on the outboard wheel flange. There was
   also a 0.5-inch-wide wheel weight impression at 2:45 on the serial side with an outline
   of a wheel weight corresponding on the wheel flange.


   A brown stain was on the serial side sidewall rubber in the 1:30 region. Additionally,
   the serial side sidewall was cut open in a circular fashion at 2:00.


   At 5:15 on the opposite serial side, there was a one (1) inch wide wheel weight
   impression with a corresponding one (1) inch wide wheel weight on the inboard wheel
   flange. The opposite serials die sidewall was also dirty.


   Rim line polishing to grooving was present 360 degrees on both sides of the tire.


   The inner liner was sound.


   There were no manufacturing anomalies in the subject tire.


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   There were polished worn flanges on the subject wheel.


   COMPANION LEFT FRONT, RIGHT FRONT AND LEFT REAR TIRES AND WHEELS


   COMPANION LEFT FRONT TIRE AND WHEEL


   The companion left front tire was identified by information molded on the sidewalls as
   follows:


   GOODYEAR WRANGLER HT
   LT235/85R16 M+S
   LOAD RANGE: E
   MAXIMUM SINGLE LOAD: 3042 LBS @ 80 PSI
   MAXIMAUM DUAL LOAD: 2778 LBS @ 80 PSI
   TUBELESS RADIAL
   TREAD: 4 PLY, 2 PLY POLYESTER, 2 PLY STEEL
   SIDEWALL: 2 PLY POLYESTER
   DOT: MDORNJHV234


   The DOT number indicates that the companion left front tire was manufactured by The
   Goodyear Tire & Rubber Company in Gadsden, Alabama during the 23rd week of 1994.


   The companion wheel was a 16 X 6.5J wheel with a Dill TR 600HP rubber snap-in valve.
   The companion tire and wheel were separate during the examination.


   The average remaining tread groove depth was 9/32nds of an inch. The tread hardness
   measured 83 Shore A Durometer. There was some serial side and opposite serial side
   tread shoulder rounding 360 degrees. Additionally, there were a few stones embedded
   in the tread sipes. At 11:00 on the tread, there was a visible cosmetic opening of the
   leading edge of the tread splice.


   The companion tire was mounted with the opposite serial side outboard with the valve
   at 12:30. The serial side sidewall was dirty.


   On the opposite serial side, there were two (2), one (1) inch wide wheel weight
   impressions at 6:15 and 7:30 with corresponding one (1) inch wide wheel weights on
   the outboard wheel flange.     On the serial side, there was a one (1) inch wide wheel
   weight impression at 8:45 with a corresponding wheel weight on the inboard wheel
   flange.


   Rim line polishing to grooving was present 360 degrees on both sides of the tire.


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   The inner liner was sound.


   There were polished worn flanges on the wheel.


   COMPANION RIGHT FRONT TIRE AND WHEEL


   The companion right front tire was identified by information molded on the sidewalls as
   follows:


   GOODYEAR WRANGLER HT
   LT235/85R16 M+S
   LOAD RANGE: E
   MAXIMUM SINGLE LOAD: 3042 LBS @ 80 PSI
   MAXIMAUM DUAL LOAD: 2778 LBS @ 80 PSI
   TUBELESS RADIAL
   TREAD: 4 PLY, 2 PLY POLYESTER, 2 PLY STEEL
   SIDEWALL: 2 PLY POLYESTER
   DOT: MDORNJHV194


   The DOT number indicates that the companion right front tire was manufactured by The
   Goodyear Tire & Rubber Company in Gadsden, Alabama during the 19th week of 1994.


   The companion wheel was a 16 X 6.5J wheel with a Dill TR 600HP rubber snap-in valve.
   The companion tire and wheel were separate during the examination.


   The average remaining tread groove depth was 8/32nds of an inch. The tread hardness
   measured 84 Shore A Durometer. There was some serial side and opposite serial side
   tread shoulder rounding 360 degrees. Additionally, there were a few stones embedded
   in the tread sipes. The serial side (outboard) tread shoulder was abraded 360 degrees.


   The serial side sidewall was dirty.


   On the serial side, there were two (2), one (1) inch wide wheel weight impressions at
   1:45 and 2:30 with corresponding one (1) inch wide wheel weights on the outboard
   wheel flange. On the opposite serial side, there was a one (1) inch wide wheel weight
   impression at 5:15 with a corresponding wheel weight on the inboard wheel flange.


   There was a deep gouge in the opposite serial side rim line region at approximately 9:00
   with a corresponding bend on the outboard wheel flange. On the opposite serial side
   bead at 5:15, the bead toe was torn.


   Rim line polishing to grooving was present 360 degrees on both sides of the tire.

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   The inner liner was sound.


   There were polished worn flanges on the wheel.


   COMPANION LEFT REAR TIRE AND WHEEL


   The companion left rear tire was identified by information molded on the sidewalls as
   follows:


   GOODYEAR WRANGLER HT
   LT235/85R16 M+S
   LOAD RANGE: E
   MAXIMUM SINGLE LOAD: 3042 LBS @ 80 PSI
   MAXIMAUM DUAL LOAD: 2778 LBS @ 80 PSI
   TUBELESS RADIAL
   TREAD: 4 PLY, 2 PLY POLYESTER, 2 PLY STEEL
   SIDEWALL: 2 PLY POLYESTER
   DOT: MDORNJHV234


   The DOT number indicates that the companion left rear tire was manufactured by The
   Goodyear Tire & Rubber Company in Gadsden, Alabama during the 23rd week of 1994.


   The companion wheel was a 16 X 6.5J wheel with a Dill TR 600HP rubber snap-in valve.
   The companion tire and wheel were separate during the examination.


   The average remaining tread groove depth was 7.5/32nds of an inch. The tread hardness
   measured 83 Shore A Durometer. There were a few stones embedded in the tread sipes.
   Between 4:00 and 4:30 in the bottom of the opposite serial side tread groove, there was
   a three (3) inch long cut.


   The opposite serial side was mounted outboard with the valve located at 8:30.         The
   serial side sidewall was dirty.


   On the serial side, there was a one (1) inch wide wheel weight impression at 1:45 with a
   corresponding one (1) inch wide wheel weight on the inboard wheel flange.           On the
   opposite serial side, there was a one (1) inch wide wheel weight impression at 3:45 with
   a corresponding wheel weight on the inboard wheel flange. There was also a 0.5 inch
   wide wheel weight impression and an outline of a wheel weight at 6:00 on the outboard
   wheel flange.


   Rim line polishing to grooving was present 360 degrees on both sides of the tire.


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   The inner liner was sound.


   There were polished worn flanges on the wheel.



   E.      CONCLUSIONS


   Based upon my education, training, experience, and examination of the subject right
   rear tire and wheel and the three (3) rear companion tires and wheels, the X-rays of the
   subject tire and a review of the materials provided to date, I have reached the following
   conclusions:


        1) The subject tire is not defective or unreasonably dangerous in design or
           manufacture.


        2) The subject tire was appropriately designed, manufactured, tested and stamped
           in compliance with applicable federal regulations and industry standards
           governing tires. The stated purpose of these regulations is to protect the public
           against unreasonable risk of accidents involving motor vehicles or motor vehicle
           equipment including tires. These safety regulations include both performance
           and tire identification or labeling standards.


        3) The subject tire experienced a detachment of a portion of the tread and top steel
           belt. This condition alone does not mean the tire is defective. Tread and steel
           belt detachments occur for a variety of reasons with the vast majority of tread
           and steel belt detachments (full and partial) occurring as a result of damage from
           in-service abuse such as overdeflected operation, cuts, punctures, improperly
           repaired punctures, wear into the belt structure, fitment issues and/or road
           hazard impact injuries. The Tire Industry Association published a Passenger &
           Light Truck Tire Conditions Manual in 2005.       This manual is for use by tire
           service personnel and discusses the above stated comment that tread and top
           steel belt detachments occur for a wide variety of service related reasons.
           Additionally, the 2005 NHTSA publication “The Pneumatic Tire”, Chapter 15
           states that “because the major tire manufacturers have been in business for
           decades and have extensive research, design, development, manufacturing and
           quality control activities and procedures - and employ thousands of specially
           trained   scientists,   engineers   and   production   personnel   -   design   and
           manufacturing defects are extremely rare”.


        4) The subject tire was not in a defective condition or unreasonably dangerous at
           the time it left Goodyear’s control. The tire underwent a substantial change in
           its condition after it left Goodyear. The tire in this case failed because the tire

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         suffered service conditions and abuses that changed its condition substantially
         after it left Goodyear.   The changes to the tire are included in my inspection
         notes and photographs.


      5) The subject tire experienced detachment of a portion of the tread and top steel
         belt as a result of a localized road hazard impact and overdeflected operation.


      6) The physical evidence on the subject tire that is consistent with a localized road
         hazard impact injury includes:


                 a) The partial detachment of the tread and top steel belt,
                 b) the localized region of failure,
                 c) the missing tread and top steel belt in the localized region,
                 d) the multi-level rubber separation and polishing between the steel
                    belts in the localized failure region,
                 e) the lack of any manufacturing or design anomalies in the localized
                    region of the tire as well as anywhere else in the tire.


         The 2005 NHTSA publication “The Pneumatic Tire”, states that road hazard
         impacts are one of the most common initiators of tire failures. The publication
         also states that if, when, and how the tire fails depends on the initial damage
         pattern and the type and severity of the subsequent operation. If the impact
         causes a tear between the belts, the damage can propagate and result in a
         tread/belt separation or detachment. The 2000 International Tire Exhibition and
         Conference Paper by Harold J. Herzlich titled “The Effect of Snaked Belt
         Anomalies on Tire Durability” states that the two most common initiators of belt
         related tire disablements are road hazard injuries to the belt package or other
         components and underinflation. Additional articles on this subject are the 2005
         paper by Standards Testing Labs, “Impact Simulations-What happens when a
         tire/wheel impacts a road hazard” and the STL paper “Structural Impact Damage
         Under Varying Laboratory Conditions” presented at the 2006 International Tire
         Exhibition and Conference. The Tire Industry Association’s 2005 Passenger &
         Light Truck Tire Conditions Manual as well as the 2005 NHTSA publication “The
         Pneumatic Tire”, Chapter 15 also discusses road hazard impact damage to tires.


         Additionally, as recent as May 14, 2018 in Rubber & Plastics News, a paper titled
         “Influence of road hazard impact on radial car tires” was authored by Vandy Price
         of Michelin and Glenn Follen. This paper was also presented in Europe earlier in
         2018 and also at the 2018 Clemson University Tire Symposium in South Carolina
         as well as at the September 1018 ITEC Conference.        I have attached a separate
         list of “Impact Literature & Reference Materials”.


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      7) The physical evidence on the tire and wheel that is consistent with overdeflected
         operation includes:


                  a) the rim line polishing to grooving on both sides of the tire 360
                    degrees,
                  b) the multi-level radial tear lines on the serial side and the opposite
                    serial side belt edges, and
                  c) the polished worn flanges on the wheel with some black rubber
                    transfer.


         I gave a presentation at the September 2004 International Tire Exposition and
         Conference (ITEC) pertaining to rim line compression grooves. The title of the
         presentation    was     “Rim   Line   Compression   Grooves   as   an    Indication   of
         Underinflated or Overloaded Tire Operation in Radial Tires”. This conference is
         held every two years and is one of the premier seminars for presentations and
         peer review of scientific tire-related research. My paper and others at the ITEC
         were presented to a broad spectrum of tire industry people, including tire
         engineers and tire chemists. The paper illustrates rim line compression grooves
         as a result of controlled evaluations. The paper also studied how overdeflected
         operation in combination with speed can increase the operating temperature of a
         tire especially at the belt edges.


         Standards Testing Laboratories has also conducted and published three (3)
         research papers in 1997 and 1998 that support the technical position that rim
         line compression grooves develop primarily as a result of overdeflected
         operation.     Additionally, the 2001 Northwestern Traffic Investigation Manual,
         Chapter 8, also discusses rim grooves as an indicator of overdeflected operation.


         Rim line compression grooves are an indication of the cumulative overdeflected
         operation history of a tire.


         Overdeflected operation can be caused by overloading, underinflation or a
         combination     of     both.   Overdeflected   operation   increases    the   operating
         temperature of the tire. Overdeflected operation, depending on the length of
         time and overall service conditions such as speeds to which the tire is subjected,
         can damage the tire, including degrading the physical properties of the rubber
         compounds and reducing a tire’s resistance to separation especially at the belt
         edges.


      8) The basic design and function of tires, including that they are pneumatic devices,
         rely on compressed air to provide their designed load carrying capacity. The Tire

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         and Rim Association load and inflation tables that specify the maximum load
         carrying capacity for each size tire are based on the volume and pounds per
         square inch of compressed air inside each tire.     As the inflation pressure is
         reduced inside a tire, the corresponding load carrying capacity is reduced.
         Additionally, as demonstrated in various technical papers, when a tire is
         operated underinflated, the operating temperature as well as the stresses and
         strains at the belt edges increases. Ref, "The Pneumatic Tire", edited by A. N.
         Gent and J. D. Walter, Published 2005 by NHTSA and “The Effect of Underinflation
         on Tire Operating Temperature”, Jenny Paige, ITEC 2012.


      9) The remaining rubber over the bottom steel belt in the crown region, where the
         tread and top steel belt was detached, was worn with lateral abrasion indicating
         that the subject tire remained inflated for some initial part of the accident
         sequence.   The curved cut through the outboard serial side sidewall at 2:00,
         would have had to occur later in the accident sequence or as a result of post-
         accident damage. There were also a few permanent bends in the bottom steel
         belt that would have occurred toward the end of the accident sequence and or as
         a result of post-accident moving of the vehicle.


      10) I disagree with Mr. Southwell’s defect contentions and criticisms of the subject
         tire.


      11) The exposed rubber over the bottom steel belt in the crown region was worn
         with lateral abrasion marks. The exposed rubber was also dirty. I disagree with
         Mr. Southwell’s opinion that the rubber on the crown region is hard and brittle
         (more than he would expect). Mr. Southwell’s photo 52 in his report that he uses
         to support shows dirty worn rubber in the crown with lateral abrasion marks.
         The rubber is not hard or brittle. The rubber shown in photo 52 as well as other
         areas on the detached surfaces is supple and show excellent multilevel tearing
         and excellent rubber to steel adhesion.


      12) The multi-level tearing and rubber tear appearance of the exposed detached
         surfaces of the belt skim rubber are evidence that the overall rubber to rubber
         and rubber to steel adhesion levels as well as the fatigue resistance, age
         resistance and physical properties, such as rubber strength and tear strength of
         the belt skim compound, were appropriate in the subject tire. The multi-level
         tearing of the rubber between the steel belts is also evidence that there was
         good balanced adhesion between all the various interfaces of the laminate
         structure. There is no physical evidence of any inadequate bonding or adhesion
         deficiency or premature aging of the belt skims in the subject tire. There is also
         no evidence of insufficient antidegradants either by design or through
         manufacturing exceptions to counteract the degree of oxygen attack.         These

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         types of manufacturing and/or design deficiencies would influence the tire 360
         degrees around the tire. The steel cords overall are encased in rubber.     The tire
         randomly tore apart in a multi-level way indicating good balanced adhesion and
         appropriate physical properties of the rubber.           References: "Component
         Interfacial Tearing Appearances" by Gary Bolden and TIA 2005 - "Passenger &
         Light Truck Tires Conditions Manual".


      13) The tire scientific community of tire engineers and chemists worldwide has
         known for decades that tread/belt separations and detachments can and do
         occur from impact damage and that the final failure of the tire from a tread/belt
         separation can occur days, weeks, and even months after the impact damage has
         occurred. This is part of the body of knowledge of tire engineers and chemists.
         The Tire Industry Association’s 2005 Passenger & Light Truck Tire Conditions
         Manual as well as the 2005 NHTSA publication “The Pneumatic Tire”, Chapter 15
         also discusses road hazard impact damage to tires leading to tread/belt
         separations and detachments.         I have attached a separate list of “Impact
         Literature & Reference Materials”.


      14) The tire scientific community of tire engineers and chemists worldwide has
         known for decades that tread/belt separations and detachments can and do
         occur from overdeflected operation. This is part of the body of knowledge of tire
         engineers and chemists. The Tire Industry Association’s 2005 Passenger & Light
         Truck Tire Conditions Manual as well as the 2005 NHTSA publication “The
         Pneumatic Tire”, Chapter 15 also discusses overdeflected operation in tires
         leading to tread/belt separations and detachments. I have attached a separate
         list of “Overdeflected Operation Index” of materials”.


      15) The 2013 Rubber Manufacturers Association “RMA” publication “Tire Care &
         Safety” states that “Continuous use of a tire in an under inflated condition will
         result in heat build-up and internal damage. This may result in a tire failure,
         including tread/belt separations”.     This same publication states that “Impact
         damage to the tire may initially show little or no external evidence. However,
         internal damage can progress with additional mileage and eventually cause
         internal tire separation, detachment or sudden loss of inflation”.


      16) There is no physical evidence of thermos-oxidative degradation in the subject
         tire. The localized region of multi-level rubber tearing is not related to oxidative
         degradation or rubber reversion related oxidative degradation. The rubber-to-
         rubber adhesion was excellent and the rubber between the steel belts was still
         supple and not brittle or cracked. The subject tire experienced a localized failure
         as a result of a localized road hazard impact injury and overdeflected operation.


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      17) Mr. Southwell states that there was an unexpected smooth and polished area on
         the opposite serial side at 150 degree. He uses photograph 53 to show this area
         in his report. He is incorrect that this location is at 150 degrees. This location is
         actually at approximately 310 degrees on the opposite serial side. This is the
         polishing that occurred in the localized region of failure as a result of the
         localized separation growing in the tire from the road hazard impact. This is a
         very normal and expected condition in a tire with a separation that is continued
         to be used in service.     This polished area is not indicative of an adhesion
         anomaly as indicated my Mr. Southwell. The area of polishing is over multi-level
         rubber fracture tear lines and not at a manufactured interface as indicated by Mr.
         Southwell.


      18) It is speculation by Mr. Southwell that the so called “wild wire” that shows up in
         the X-Rays at approximately 50 degrees in the serial side shoulder region is
         actually a “wild wire”. The term wild wire typically is related to a manufacturing
         condition. It is also speculation to call it a single frayed second belt filament. It
         is not possible to conclude that the object noted in the X-Ray was actually from
         the tire (bottom or top belt). The tire experienced a tread and top steel belt
         detachment and went through an accident sequence that included the tire at
         some point even rotating deflated.        It is no unusual for tires to experience
         broken steel cords and filaments to become lodged in various areas of the tire
         including through the inner liner. Tires also get punctured and pickup various
         external objects during a tire disablement and accident sequence. What can be
         concluded with a high degree of engineering certainty is that the object had
         nothing to do with the localized failure of the tire, and was actually in an area
         where the tire was intact and did not fail.


      19) It is speculation by Mr. Southwell to state the tread was most probably devoid of
         any visual indicators that would, to the average person, suggest was in any way
         unsuitable for normal use. The portion of the tread that was detached was not
         recovered.   A portion of this missing detached tread was over the localized
         separation regions of the tire. It is not possible to opine that this missing tread
         would not have had any physical evidence on it from a road hazard impact as
         well as any evidence of localized accelerated tread wear.


      20) Mr Southwell’s comments and literature referenced in his report regarding the
         opinion that tires must wear out before they fall apart assumes something very
         important that he does not mention in his report. Tires will wear out before they
         fall apart only if they are properly maintained, used and stored. Tires require
         maintenance. Many tires need to come out of service or are taken out of service
         before they wear out as a result of many different service related conditions.    As
         an example tread and steel belt detachments such as encountered with the

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         subject tire occur for a variety of reasons with the vast majority of tread and
         steel belt detachments (full and partial) occurring as a result of damage from in-
         service abuse such as overdeflected operation, cuts, punctures, improperly
         repaired punctures, wear into the belt structure, fitment issues and/or road
         hazard impact injuries. The Tire Industry Association published a Passenger &
         Light Truck Tire Conditions Manual in 2005.            This manual is for use by tire
         service personnel and discusses the above stated comment that tread and top
         steel belt detachments occur for a wide variety of service related reasons. The
         subject tire failed as a result of a localized road hazard impact and overdeflected
         operation.


      21) There is nothing unusual about the steel belts in the subject tire that would be of
         concern related to tire durability. I reviewed the x-rays of the subject tire, and
         there is nothing unusual about the steel belts in the subject tire that would be of
         concern related to tire durability. Based on my examination of the subject tire
         and X-rays, the steel belts are in line with well-manufactured tires and did not
         cause any tire durability issue in the subject tire.


         I have also analyzed belt cord conditions on a large number of tires in my career,
         including tires manufactured by a variety of tire manufacturers both in new tires
         and worn tires. Additionally, on September 18, 2012, at the 2012 International
         Tire Exposition and Conference “ITEC”, in Cleveland, Ohio, I presented a paper
         pertaining to an X-ray study of sixty (60) worn out passenger and light truck
         tires that I conducted. Recent shearography was performed on the 60 worn out
         tires. The shearography results further supports the opinions in the paper. This
         study confirms that the belt conditions in the subject tire and the companion
         tires are normal and are not a concern related to durability. In my experience,
         the steel belts in the subject tire, based upon my examination, are in line with
         hundreds of millions of well-manufactured radial tires produced in the United
         States and worldwide over the years and did not cause or contribute to the
         failure of the tire.


         Additional technical papers that support this include: “Belt Misalignments and
         Belt/Belt Tear Patterns” ITEC 2002 and “The Effect of Snaked Belt Anomalies on
         Tire Durability” ITEC 2000 both by Harold J. Herzlich of Herzlich Consulting, Inc.


      22) I have conducted thermography demonstrations of passenger and light truck
         tires that have been X-Rayed. These demonstrations were conducted to show
         the significant heat generated in the steel belt area when a tire is run
         overdeflected.     These same demonstrations showed no increase in the heat
         generated at the regions of the belt conditions similar to the alleged belt
         conditions in the subject tire and normally found in tires. The results of this

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         testing were presented at the September 2016 International Tire Exhibition and
         Conference (ITEC) in Akron, Ohio in a paper titled “Typical Manufacturing
         Conditions in Steel Belted Radial Tires: Do They Influence Tire Durability?”. The
         paper was also recently published in the “2017 Tire Technology International
         Annual”.


      23) All tires, as well as most other manufactured products, are designed and
         manufactured with tolerances. The tolerances for the various parameters of the
         steel belt manufacturing have historically been established recognizing the
         manufacturing capabilities, and the importance of making sure there are tight
         controls in place to insure all tires manufactured will perform the same for
         consumers for performance considerations such as ride, handling and durability.
         Tolerances are not a cliff where as soon as a tire has a belt condition slightly
         outside the tolerances that a performance or durability issue will arise.
         Tolerances are set up to ensure the manufacturing of tires is held to high
         standards and to insure a typical or normal belt condition does not cause a
         performance or durability issue in a tire. The belt conditions in the subject tire
         are normal expected belt conditions found in any well manufactured tire and did
         not cause or contribute to the subject tire failure.


      24) The taking of X-Rays of the steel belts in a tire must be done with caution and
         consideration of the normal distortion and parallax that occurs in the X-ray
         process.    Interpretation and measurements taken off X-Rays must also be
         recognized as being subject to ray distortion and parallax. Chapter 16 of the
         NHTSA “The Pneumatic Tire” publication discusses this issue as does my 2012
         International Tire Exposition and Conference “ITEC” paper pertaining to an X-ray
         study of sixty (60) worn out passenger and light truck tires that I conducted.


      25) The inner liner thickness is not defective in the subject tire and in my experience
         is in line with well-manufactured radial tires sold and used in the United States
         over the years. The subject tire does not have any exposed or penetrating body
         ply cord. The inner liner did not cause or contribute to the localized failure of
         the tire.


      26) Increasing rubber gauges of components such as increasing the inner liner
         gauge does not necessarily improve tire durability.      Unnecessary increases in
         rubber gauges can actually reduce component and overall tire life. Unnecessary
         increases in rubber gauges of rubber components increase tire weight, increase
         tire operating temperature and can increase the stresses and strains in the tire.
         The design approach to tires is to optimize each component in the tire to obtain
         the required tire performance.


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      27) A nylon cap ply would not have prevented this tread and steel belt detachment
         on the tire from occurring. Nylon cap plies placed circumferentially (0 degrees)
         over the steel belts in radial tires do not offer sufficient stiffness and support to
         the steel belt edges to have an influence on the various stresses and strains that
         the belt edges must endure during the tire’s operational life.


         Nylon cap plies or strips placed circumferentially (0 degrees) over the steel belts
         do not prevent belt edge separation and tread/belt detachment when a tire has
         been run overdeflected, damaged, improperly repaired or injured.             I have
         personally examined many tires with nylon cap plies or nylon strips that have
         experienced tread and top steel belt detachments.

         Nylon cap plies or strips are used to increase high speed performance and are
         mainly used in high speed rated tires. I have reviewed many competitor radial
         tires over my career, all of which confirm this knowledge.


         Nylon cap plies or strips mainly offer an advantage in restricting a high speed
         rated high performance tire’s outside circumference from growing due to
         centrifugal forces at high speeds and also delaying the formation of standing
         wave patterns. This is because the nylon is placed in the tire in a circumferential
         direction and has low elongation properties.


         I gave a presentation in October 1986 to The Tire Technology Conference at
         Clemson University in Greenville, South Carolina. The title of the presentation
         was “What makes a High Performance Tire Different than a Regular Tire?” This
         conference is held annually and is attended by a broad spectrum of tire industry
         people, including tire engineers and tire chemists.          This particular paper
         presentation was very well received and reflects the understanding of the tire
         industry in regard to the use of nylon cap plies and cap strips.         This same
         presentation was also presented at the Akron Rubber Group in Akron, Ohio and
         at the American Retreaders Association’s annual convention in Louisville,
         Kentucky.


         I also continue to examine tires that do have full width nylon cap plies that have
         experienced tread and top steel belt detachments.      The full width nylon cap has
         not prevented or minimized the tread and top steel belt detachment from
         occurring.


         In sum, nylon cap plies or strips are used as a method to increase high speed
         performance and reduce the formation of standing wave patterns and not as a
         method to stop or prevent belt edge separations and tread/belt(s) detachments
         from occurring.

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      28) I disagree that there were safer alternative designs such as nylon or aramid or
         polyamide as overlays that would have made the tire more durable and/or more
         resistant to foreseeable road hazards. The subject tire already has two (2) steel
         belts.   This type of construction has proven over a number of decades to be
         extremely durable. These alternative designs would not have prevented or
         significantly reduced the risk of the subject tire’s disablement.


      29) The subject tire was manufactured in 1994, twenty-one (21) years before the
         accident. The subject tire’s design and construction was state of the art for light
         truck tires manufactured in 1994. The vast majority of radial light truck tires
         designed and manufactured in the United States at the time of the manufacture
         of the subject tire incorporated two (2) steel belts and did not incorporate a
         nylon cap ply.


      30) There is no condition in the subject tire that suggests that Goodyear’s quality
         assurance processes were inadequate. The alleged defective conditions are not
         defects and did not cause or contribute to the subject tire disablement. The tire
         experienced a tread/belt detachment as a result of service conditions.


      31) The subject tire (and companion tires) should not have been in service on the
         day of the accident. The person responsible for maintaining and inspecting the
         subject tire should have taken remedial action and removed the subject tire (and
         companion tires) from service before the accident. Additionally, the tread over
         the localized region where the subject tire failed would have appeared distorted
         leading up to the crash. An increase in noise and vibration from the tire leading
         up to the tire failure would also have been signals to most drivers that the tire
         needed to be replaced.     There is an SAE Paper 2007-01-0733, titled “Vehicle
         Response Comparison to Tire Tread Separations Induced by Circumferentially
         Cut and Distressed Tires” by a number of gentlemen from Tandy Engineering &
         Associates, Inc. and Ford Motor Company. As part of “distressing” the tires in
         order to achieve a tread/belt separation on a vehicle in a relatively short period
         of time, they dropped the inflation pressure to 15 psi and drove on the tire at
         approximately 70 miles per hour on the right rear position of a 1999 Ford
         Explorer.   After approximately four hours, the tire failed as a result of a
         tread/belt separation and detachment. The paper states that the forces from the
         vibrations from the distressed tire increased in amplitude over many miles, up to
         the point of the tread/belt separation. The paper also states that the vibration
         can be signals to the driver that something is occurring.       These signals were
         measured and documented for approximately 300 miles of driving in this paper.




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      32) Only a small percentage of tires remain in service for 10 years or more. See, e.g.,
         the RMA Scrap Tire Project, dated December 19, 2005. Thus, it should be
         recognized that this case, involving twenty-one (21) year old tires which were
         still in service, represents a highly unusual situation.


      33) The subject tire and companion tires were approximately twenty-one (21) years
         old at the time of the accident.     It is well known and understood in the tire
         community including tire professionals, that old tires must be inspected on a
         regular basis. The longer a tire is in service, the more opportunity that a tire
         may experience some type of service condition that with continued use may
         cause a tire failure. There is no specific chronological age at which a tire should
         come out of service.      The highly unusual age of the tire(s) and the unknown
         service life of the tires would have been another reason to remove the tire(s)
         from service.


      34) The shearography of the companion tires must be evaluated recognizing that the
         companion tires were also twenty-one (21) years old and were also involved in
         the accident that can by itself damage tires. There was physical evidence on the
         companion tires that they also had been run in an overdeflected manner for
         some portion of their service life. Mr. Southwell speculates that, given sufficient
         additional service, would almost certainly result in a tread and belt detachment
         of the type that occurred in the subject tire.      Shearography is an appropriate
         non-destructive tool when there is a base line or control to compare the results.
         Is this situation, the overall service history or storage conditions are not known.
         Additionally, internal damage to the companion tires that may have occurred
         from the accident is unknown. Ref. Chapter 16 from “The Pneumatic Tire” titled
         Non-Destructive Tests and Inspections.

      35) Many, but not all, tire companies have had service life recommendations long
         before the accident took place, including Bridgestone/Firestone (2005), Michelin
         (2006), BFGoodrich (2006), Continental Tire (2006), Vredestein (2007), Hankook
         (2009),   Kumho     (2011),    and   Yokohama      (2011).    These    service   life
         recommendations do not indicate that there is a specific age limit of a tire but a
         general recommendation to remove tires typically at ten (10 years because of the
         unknown service life of a tire that old. The subject and companion tires were
         twenty-one years old.         A competent tire service or vehicle inspections
         professional should have been aware of these numerous recommendations and
         taken the tire(s) out of service.


      36) Goodyear’s position of not having a specific service life recommendation but
         rather have a tire professional or experienced tire person responsible for the tire
         maintenance to fully inspect the tires and make a determination as to the

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         condition of the tire for continued use is technically the correct approach. Some
         tires need to come out of service well before ten (10 years and some, if properly
         maintained can safely be used well past ten (years).

      37) I am not aware of any tire manufacturer in the world that places either a “born on”
          or an “expiration date” on a tire. I participated in a survey of 1,240 tires made to
          dozens of brands that had been removed from service for various reasons. All of
          the tires contained a DOT code that indicated the week and year of manufacture
          as required by federal regulations. None of the tires contained a “born on” or an
          “expiration date.”

      38) One reason that tires do not and should not have an expiration date is because
          there is no technical data that supports a specific tire age for removal from
          service. Different tires may experience vastly different service lives (i.e., loads,
          inflation pressures, service conditions, etc.) and it is those different service
          conditions which principally dictate the ultimate service life of a tire.

      39) Another reason that tires do not have expiration dates is because they could
          provide consumers with a false sense of comfort and actually lead to an even
          more dangerous situation. Studies show that the vast majority of tires will need to
          come out of service for any number of different conditions (i.e., punctures,
          improper repairs, worn out, etc.). If there were “expiration dates” on tires, it could
          lead consumers to falsely believe that their tires are safe to use up until the
          expiration date, when in fact those tires need to come out of service much sooner
          for other reasons.

      40) Another reason that tires do not and should not have “born on” or “expiration
          dates” is because there is not enough room on a tire’s sidewall for all of the
          potential hazards associated with tires. I am familiar with dozens if not over a
          hundred potential hazards involving tires. Those include but are not limited to
          hydroplaning hazards, improper mounting hazards, not repairing tires properly,
          failure to match tires with proper wheel size, operating damaged tires, using tires
          on vehicles that are not properly aligned, and placing tires on damaged wheels.
          These are just some examples that could involve any tire. In my opinion, it is
          neither feasible nor advisable to address all of these potential hazards in the
          limited space on the sidewall of a tire.

      41) NHTSA has issued many rules and regulations with respect to tires, but does not
          require a “born on date”, “age warning” or an “expiration date.” In fact, in 2015,
          NHTSA declined the opportunity to make a change to the current DOT date-code
          system. NHTSA stated, “we do not believe a change to the date code is necessary

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           for consumers to determine. when their tires were manufactured. NHTSA' s tire
           consumer Web site, http://www.sa(ercar.gov/tires/index.html explains in several
           places how to find and interpret the date code. Furthermore, a person should
           easily be able to determine the location of the date of manufacture on a tire is
           located either by querying an internet search engine or by asking a tire dealer."

       42) The current DOT date coding system requires all tires sold in the United States to
           identify the week and year of manufacture. This uniform system has been in place
           for over 40 years. In my opinion, a competent tire service professional should
           know how to read a DOT number.

       43) In my experience, the forces generated on a vehicle from a tire failure do not
           normally adversely affect the dynamics of the vehicle or cause loss of control. If
           a loss of control does occur, it is typically related to other factors . I have
           instrumented many vehicles during my career and measured the forces going
           into a vehicle during various types of tire disablements at highway speeds,
           including tread and top steel belt detachments such as encountered in this
           crash . According to the 2005 NHTSA publication "The Pneumatic Tire", Chapter
           15, the statistics indicate that only a fraction of the time, 0.06% to 0.50%, does
           an in - service tire failure end up with some type of crash .



   .This report is based upon a reasonable degree of engineering certainty, my education
    and work experience and on the materials presently available to me. I reserve the right
    to supplement or amend this report in light of newly acquired information. I also expect
   · to use demonstratives as part of my testimony.


    I have enclosed a copy of my current CV which includes publications, my deposition and
    trial testimony list, a list of case specific file materials, a list of general reference file
    materials, a list of "Impact Literature & Reference Materials" and a list of "Overdeflected
    Operation Index" of materials. I am also enclosing a copy of my inspection notes. My
    hourly billing rate is currently $375 per hour as of September l, 2018.


    If you have any questions regarding my examination, please contact me.




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     Impact Literature & Reference Materials Index
                     Title                 Author                     Source             Date
1         Michelin 2007 Owner’s             n/a             Michelin North American      2007
                   Manual                                               Inc.
2           NHTSA’s Tire Safety-             n/a            National Highway Traffic     n/a
           Everything Rides On It                             Safety Administration
3           The Pneumatic Tire,        J.D. Gardner and        Published by NHTSA,       2005
        Chapter 15, Introduction to       B.J. Queiser       Edited by A.N. Gent and
         Tire Safety, Durability and                       J.N. Walter, The University
               Failure Analysis                                      of Akron
4            Care and Service of             n/a              Rubber Manufacturers       1995
        Automobile and Light Truck                                 Association
                 Tires- RMA
5       Tire Forensic Investigation-       Thomas R.          SAE International          2008
            Analyzing Tire Failure          Giapponi             Publication
6       Tire Examination Following          James D.       Northwestern University       1985
                  Accidents              Gardner and J.        Traffic Institute
                                        Stannard Baker           Publication
7        Tire Examination after             Calvin P.      Northwestern University       n/a
         Motor Vehicle Collisions      McClain, Jr. and    Center for Public Safety
               (Chapter 8)                 Michael A.
                                             DiTallo
8        Tire Examination after             Calvin P.      Northwestern University       n/a
         Motor Vehicle Collisions      McClain, Jr. and    Center for Public Safety
              (Chapter 13)                 Michael A.
                                             DiTallo
9        Impact Simulations in the     G.C. Bolden, J.M.          Tire Technology        2001
                   Lab                   Smith and T.R.    International for Standard
                                           Flood (STL)      Testing Laboratories USA
10      Structural Impact Damage          Gary Bolden,            Presented at the       2006
        Under Varying Laboratory        John Smith and           International Tire
        Conditions- Paper 17B for        Timothy Flood     Exhibition and Conference
                ITEC 2006                     (STL)           (a Rubber and Plastics
                                                                    News Event)
11      Structural Impact Damage         Gary Bolden,             Tire Technology        2006
        Under Varying Laboratory       John Smith and      International: The Annual
          Condition- pgs. 89-92         Timothy Flood       Review of Tire Materials
                                            (STL)            and Tire Manufacturing
                                                                     Technology
12        Impact Demonstration            Standards             Standards Testing        2000
         Study Conducted by STL-           Testing                  Laboratories
                 Canales                 Laboratories
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13        Impact Demonstration           Standards           Standards Testing          2006
         Study Conducted by STL-          Testing               Laboratories
                   Piard                Laboratories
14        Impact Demonstration           Standards           Standards Testing          2002
         Study Conducted by STL-          Testing               Laboratories
                  Prince                Laboratories
15        Various Impact Studies         Standards           Standards Testing          n/a
       Conducted by STL (Impact           Testing               Laboratories
         Demonstration Video 28         Laboratories
                  below)
16      Impact Simulations: What        Gary Bolden,          Tire Technology           2005
            Happens When a            John Smith and     International: The Annual
       Tire/Wheel Impacts a Road       Timothy Flood      Review of Tire Materials
                  Hazard                   (STL)          and Tire Manufacturing
                                                                 Technology
17        Road Hazard Impact           Joseph L Grant                n/a                n/a
       PowerPoint: Bulge on Tread      (photographs)
         and Split on Innerliner
18      STL Road Hazard Impact           Standards        STL Machinery Division        1998
               Machine                     Testing
                                        Laboratories
19      Video – Impact Studies –         Standards           Standards Testing          2002
          Prince Tire on Impact            Testing              Laboratories
                 Machine                Laboratories
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        Prince Tire on Test Wheel          Testing              Laboratories
                                        Laboratories
21      Video – Impact Studies –      Standard Testing       Standards Testing          n/a
               STL Videos               Laboratories            Laboratories
22      Video – Impact Studies –         Standards           Standards Testing          n/a
            Video Excerpts                 Testing              Laboratories
                                        Laboratories
23      Photos of Prince & Piard       Joseph L Grant              n/a                  n/a
                  Tires                (photographs)
24      The Effect of Snaked Belt      Harold Herzlich       International Tire         2000
       Anomalies on Tire Durability                      Exhibition and Conference

25      Passenger and Light Truck           n/a          Tire Industry Association      2005
          Tire Conditions Manual
26      RMA Tire Care and Safety            n/a           Rubber Manufacturers        June 2001
                   Guide                                      Association
27       RMA Care and Service of            n/a           Rubber Manufacturers       August 2011
        Passenger and Light Truck                             Association
                 (LT) Tires
28      Commercial Medium Tire              n/a             US Department of          Dec. 2008
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           Tread Separations
30     Dynamic Fracture of Natural    Ali A. Quraishi        Tire Science and        Oct.-Dec.
                 Rubber              and Michelle S.     Technology Vol. 35, No. 4     2007
                                         Hoo Fatt
31     High Speed Tensile Testing    K.B. O’neil, M.F.   Applied Polymer Symposia      1967
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                                          Kimmel
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                (Goodyear)
35       Tire Suspension- Chassis        Vladimir           Kumho Tire Co., Inc        n/a
         Dynamics in Rolling Over       Kerchman
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         Simulation and Analysis)
36          Care and Service of            n/a            U.S. Tire Manufacturers      2017
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                   Tires

37         Tire Care & Safety              n/a            Rubber Manufacturers         2013
                                                              Association



38     Road Hazard Impacts: Their     Vandy Price &      Clemson University Global     2018
           Influence on Radial         Glenn Follen       Tire Industry Conference
         Passenger Tires and the                         & Europe Tire Technology
        Forensic Signs they Leave                         Exposition, RPN & 2018
                 Behind                                             ITEC
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            JOSEPH L. GRANT GENERAL REFERENCE LIST of MATERIALS

   OVER MY CAREER, AS PART OF MY TRAINING AND EXPERIENCE, I HAVE REVIEWED AN
   EXTENSIVE NUMBER OF PUBLICATIONS, TEST RESULTS, ARTICLES AND VARIOUS OTHER
   LITERATURES RELATED TO TIRE PERFORMANCE ISSUES. THE LIST BELOW IDENTIFIES A
   SAMPLE OF THE MATERIALS THAT I HAVE BEEN EXPOSED TO AND REVIEWED.                   THE
   ACTUAL EXTENSIVE LIBRARY OF MATERIALS THAT I HAVE BEEN EXPOSED TO AND
   REVIEWED IS FAR GREATER THAN THIS LIST


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      2. Bennett Garfield, Who Makes it? And Where? Directory (Annual)
      3. Bennett Garfield, OE Tire Size Guide (Annual)
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      6. The Tire Technology Conference, October 28-29, 1986, Clemson University –
         What Makes a High Performance Tire Different Than a Regular Tire?
      7. RMA Poster – Inspection Standards for Radial Passenger Tire Casings
      8. The Maintenance Council (TMC) – Recommended Maintenance Practices Manual
      9. “Science and Technology of Rubber”, Second Edition, J. Mark, B. Erman & F. Eirich
      10. “Radial Tire & Disc Wheel Conditions Digest” 2012, TMC ATA
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      12. “Bring It Home Safely…How You Can Prevent Underinflated Truck tires” TMC ATA
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     265. Halobutyl Inner Liner is Key to Tire Durability. RPN March 21, 2016
     266. Smithers 2015 Traction Conference – Exxon Mobile.
     267. Truck Tire Infl Press Loss Rates and Rolling Res, ExxonMobil, 2016
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         Overdeflected Operation Index
                  Causing Tread/Belt Separation/Rim Grooves
                    Title             Author             Source           Date
   1     Compression Grooves Schnuth, Fuller,       Standards Testing   Jun. 1997
            as an Indicator of     Follen, Gold        Laboratories
             Over-Deflected
           Operation in Tires
   2           Compression       Schnuth, Fuller,   Standards Testing   Oct. 1997
           Grooving and Rim       Follen, Gold,        Laboratories
         Abrasion as Indicators       Smith
           of Over-Deflected
         Operating Conditions
                  in Tires
   3          Effect of Over-    Schnuth, Smith,    Standards Testing   Sep. 1998
          Deflected Operation     Bolden, Flood        Laboratories
             on the Tire/Rim
                 Interface
   4      Rim Line Grooves as     Joseph Grant       ITEC Paper 45D       2004
              an Indicator of
             Underinflated or
             Overloaded Tire
          Operation in Radial
                   Tires
   5       Bead Compression        Jean Claude            ITEC            2004
                 Grooving:             Brico
          Characteristics and
            Influences of Tire
                Deflection
   6      Passenger and Light           n/a         The Tire Industry     2005
         Truck Tire Conditions                        Association
                  Manual
   7     Tyre Damage and It’s           n/a         Continental Tire    2005/2006
                  Causes
   8           Tire Forensic        Thomas R.       SAE International     2008
              Investigation-         Giapponi         Publication
         Analyzing Tire Failures




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   9        Traffic Collision        Calvin P.        Northwestern University         n/a
             Investigation          McClain and       Center for Public Safety
              (Chapter 8)           Michael A.
                                      DiTallo
   10         Tire Safety,             n/a             National Highway Traffic       n/a
         Everything Rides on It                          Safety Administration
   11     The Pneumatic Tire        J.D. Gardner         Published by NHTSA,          2005
                                   and B.J Queiser      Edited by A.N. Gent and
                                                      J.N. Walter, The University
                                                                of Akron
   12     The Effect of Snaked        Harold J.            International Tire         2000
           Belt Anomalies on          Herzlich        Exhibition and Conference
              Tire Durability
   13    RMA Care and Service           n/a            Rubber Manufacturers         Aug. 2011
            of Passenger and                               Association
          Light Truck (LT) Tires
   14    Many U.S. Passenger         Elly Martin       National Highway Traffic     Aug. 2001
           Vehicles Are Driven                          Safety Administration
            on Under-Inflated
         Tire, NHTSA Research
              Survey Shows
   15        The Effect of the      Jenny Paige                  ITEC                 2012
         Underinflation on Tire
                Operating
               Temperature
   16         Thermography          Joseph Grant                 n/a                Dec. 2014
              Demonstration
   17         Thermography          Joseph Grant                 n/a                Jul. 2014
              Demonstration
   18    Tire Inflation Pressure    Joseph Grant                 n/a                Oct. 2002
            and Temperature
   19    Overdeflection Video           n/a                      n/a                  n/a
   20    Human Performance              n/a            National Transportation        n/a
         & Vehicle Group                               Safety Board, Office of
         Chairmen’s Report of                              Highway Safety
         Operational Testing

   21    Typical Manufacturing       Vandy Price                 ITEC                 2016
         Conditions in Steel        Joseph Grant
         Belted Radial Tires:
         Do They Influence
         Tire Durability
                                                  2
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   22    Commercial Medium         NHTSA         National Highway Traffic   Dec. 2008
         Tire Debris Study       DOT HS 811       Safety Administration
                                    060
   23    Care and Service of        n/a          U.S. Tire Manufacturers      2017
         Commercial Truck                               Association
         and Bus Tires
   24    Motorcoach Tire Fire      Office of     National Transportation      2006
         Test Report             Research and         Safety Board
                                  Engineering
   25    Human Performance         Office of     National Transportation      2007
         & Vehicle Group        Highway Safety        Safety Board
         Chairmen’s Report of
         Operational Testing
   26    Tire Care & Safety          n/a         Rubber Manufacturers         2013
                                                     Association




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A list of case specific materials reviewed by Joseph L. Grant as of May 9, 2019 in the Susman Loveland v.
Goodyear matter:

    1. Subject Tire and Wheel;
    2. Companion Tires and Wheels;
    3. X‐Rays of Subject and Companion Tires;
    4. Shearography of Companion Tires;
    5. NE State Patrol Report and Call History;
    6. State of NE Investigator Motor Vehicle Accident Report;
    7. Complaint
    8. NE State Patrol Photos;
    9. Deposition of Rysta Susman and Exhibit;
    10. Deposition of Jacob Summers;
    11. Deposition of Daniel T. Bueser and Exhibits;
    12. Deposition of Larry Blair,
    13. Southwell’s Expert Report and Exhibits;
    14. Southwell’s File Materials;
    15. Dandee Concrete Construction Company Documents;
    16. Kearney Towing Documents;
    17. Laux’ Expert Report;
    18. Deposition of David Roy Southwell and Exhibits;
    19. Daws’ Photos;
    20. Gould Exhibit A;
    21. Tyre Invoice 151;
    22. NSP Scene Photos‐C15‐07916‐Dandee Construction‐5‐01‐15;
    23. Photo Log – Subject Vehicle Inspection – Dandee Construction;
    24. Photo Log – Tire Wheel Collection – A121365W00;
    25. Susman_Protective Order;
    26. GY_Susman Confidential Documents Produced.
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                             CURRICULUM VITAE OF
                               JOSEPH L. GRANT

PRESENT
EMPLOYMENT:           Independent Tire Analyst

HOME ADDRESS:         4201 Moss Creek Court
                      Matthews, North Carolina 28105
                      Phone 704 617 0336

EDUCATION:            Bachelor of Science in Mechanical Engineering – June, 1971
                      Fenn College of Engineering, Cleveland State University

COURSES &             • Tire Society Symposium
SEMINARS:             • Akron Rubber Group
                      • Clemson University Tire Industry Conference (October, 1985 and 1986)
                      • Monsanto Rubber Technology Seminar (May, 1989)
                      • SAE Motor Vehicle Accident Reconstruction and Cause Analysis
                              (March, 1993)
                      • International Tire Exposition and Conference
                      • Northwestern University Traffic Institute Accident Investigation
                               (March, 1997)
                      • STL Trans Tech Tire Technology Seminar – 1999

PROFESSIONAL          • Society of Automotive Engineers
ORGANIZATIONS:        • Akron Rubber Group
                      • Rubber Manufacturers' Association
                              Chairman - Truck Bus Tire
                              Engineering Committee (1986-1992)
                      • Tire & Rim Association
                      • The Maintenance Council of the American Trucking Association
                      • American Society of Mechanical Engineers
                      • Tire Industry Association
                      ▪ American Chemical Society

PUBLICATIONS:         1) "What makes a High Performance Tire Different than a Regular Tire"
                             Jan. 1986 - Akron Rubber Group
                             Oct. 1986 - Clemson University Tire Industry Conference
                             April 1987 - American Retreading Association
                      2) “Rim Line Grooves as an Indicator of Underinflated or Overloaded
                      Tire Operation in Radial Tires” September 2004 – ITEC
                      3) “X-Ray Study of Sixty (60) Worn Out Passenger & Light Truck Tires”
                              September 2012 – ITEC
                      4) “Typical Manufacturing Conditions in Steel Belted Radial Tires: Do
                      They Influence Tire Durability” September 2016 - ITEC
                             Also Published – 2017 Tire Technology International Annual
PATENTS:              Method of Forming Belted Radial Tires from a Cylindrical Tire Band
                      (1977)
    8:18-cv-00127-LSC-SMB Doc # 127-7 Filed: 09/03/19 Page 62 of 68 - Page ID # 2440


                              CURRICULUM VITAE OF
                                JOSEPH L. GRANT

EMPLOYMENT:            June 1971 – Dec. 1994       The General Tire & Rubber Company
                       Jan., 1995 – April 2000     Continental General Tire, Inc.
                       May 2000 – Dec. 2005        Continental Tire, North America, Inc.
                       Jan. 2006 – Present         Independent Tire Analyst

POSITIONS:

  • June, 1971        Engineering Trainee, Tire Technology          Department,    Akron    Tire
                      Manufacturing Plant (Akron, Ohio).

  • October, 1972     Project Engineer, Advanced Tire Development.
                      Responsible for the Development of Advanced Concept Tire Products,
                      including Fiberglass Belted Radial Passenger Tires and Advanced Bias Truck
                      Tires (Akron, Ohio).

  • October, 1978     Manager, Bias Passenger Car Tire Engineering Technology.
                      Responsible for the Engineering Development Group for Bias Passenger
                      Tires (Akron, Ohio)

  • April, 1980       Manager, Replacement and Private Brand Passenger Car Tire Engineering
                      Technology.
                      Responsible for the Engineering Development Group for Bias and Radial
                      Passenger Tires (Akron, Ohio).

  • March, 1987       Section Manager, Radial Truck Tire Engineering.
                      Responsible for the Engineering (Construction and Mold Design)
                      Development Group for Radial Truck Tires (Akron, Ohio).

  • September, 1988   Director, Commercial Tire Technology.
                      Responsible for the Engineering (Construction and Mold Design) and
                      Compound Development Groups for Commercial Products, including Bias
                      and Radial Medium and Heavy Service Truck Tires and Giant, Farm and
                      Industrial Tires (Akron, Ohio, September 1988 - March 1992) (Mt. Vernon,
                      Illinois, April 1992 - December 1992).

  • January, 1993     Director, Product Analysis.
                      Responsible as company-wide consultant to assist other Departments on the
                      subject of Tire Failure Analysis, Tire Performance Standards, and Safety
                      Literature (Akron, Ohio, January 1993 - October, 1995) (Charlotte, North
                      Carolina, November 1995 – January 2006).

  • January, 2006     Independent Tire Analyst



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______________________________________________________________________________

                                    JOSEPH L. GRANT
                                   4201 Moss Creek Court
                               Matthews, North Carolina 28105
                                      (704) 617-0336




                                         Fee Schedule



      Hourly Rate                                                  $ 375.00

      Travel Fee (per hour)                                        $ 375.00

      Travel Expenses                                              Cost
             Hotel,
             Air Travel (least expensive)
             Rental Car or Taxi (least expensive)
             Personal Car ($0.545/mile)


      Travel time is portal to portal. Invoices are submitted at the conclusion of each
      significant segment of the work as the case progresses. A retainer may be required in
      certain circumstances.



      TAX I.D. 282 40 6143                          September 1, 2018
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                                     JOSEPH L. GRANT
                                 DEPOSITION AND TRIAL LIST

             NAME                           VENUE                TRIAL   DEPO     LOCATION
   Allen, Kimberly v Michelin      Arizona Mohave County                  15    Charlotte, NC
                                   Superior Court, Case No.       15            Lake Havasu, AZ
                                         CV2013-07176
   Anderson v Cooper                State of South Carolina        -      17    Birmingham, AL
                                     County of Spartanburg
                                     CA No.: 2015-CP-42-
                                              03764
   Below v YRC                          US District Court                 17    Charlotte, NC
                                       Western District of        17            Madison, Wis.
                                           Wisconsin
                                  CASE No.: 3:15-cv-00529-
                                               wmc
   Benedict v Hankook                District Court Eastern       18      17    Charlotte, NC
                                       District of Virginia
                                           Richmond
   Bice, Karen v Cooper             Circuit Court Davidson         -      16    Charlotte, NC
                                       County, Tennessee,
                                      Nashville CASE No.
                                            15C2551
   Boehn v Deestone, Dunlap &     Arkansas Northern District       -      16    Little Rock, AR
   Kyle                            CASE No. CV 2015-068
                                               ND
   Bojorquez vs. Agfinity           New Mexico, County of         17      17    Albuquerque, NM
                                     Santa Fe, First District
                                    Court D-101-CV-2015-
                                              02061
   Boyer v Hankook                  State of North Carolina-       -      17    Greenville, SC
                                      Iredell County, Civil
                                   Action File No. 14-CVS-
                                              01873
   Brown v Hankook                    US District Court of         -      15    Tulsa, OK
                                  Eastern District of OK, No.
                                     6:14-cv-00109-RAW
   Cail, Danny vs Bridgestone        Circuit Court, Russell        -      16    Akron, Ohio
                                    County, Alabama, Civil
                                     Action No. CV-2014-
                                           900080.00
   Carrillo vs Wal-Mart & The     Superior Court of the State      -      18    Los Angeles, CA
   Goodyear Tire & Rubber         of California, County of san
   Company                                 Bernardino
                                  Case No.: CIVDS1605889
   Charcalla, Brenda v.           US District Court, Western       -      15    Charlotte, NC
   Goodyear                         District of Pennsylvania
                                    Civil Action No.: 13-cv-
                                         00200204-JFC
   Chery v Bridgestone              State of North Carolina        -      18    Charlotte, NC
                                    General Court of Justice
                                    Superior Court Division
                                          16 CVS 5859
   Clarke vs. BATO, Gibson          Sate of South Carolina,        -      17    Charleston, SC
   Tire, H. Sheppard, M Grantz      Clarrendon County CA

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              NAME                          VENUE                TRIAL   DEPO     LOCATION
                                     No.:2014-CP-14-0432
   Cone/Frazier v Hankook         US District Court western               16    Charlotte, NC
                                       District Tennessee         17            Jackson, TN
                                       No. 1:14-cv-0011
   Danehower V Cooper Hearing     Circuit Court of St. Francis     -      18    Arkansas
                                       County, Arkansas
                                       No. 62cv-17-25-1
   Dash vs Carolina Rides &        State of South Carolina,        -      16    Columbia, SC
   Precision Tune Auto Care        County of Richland C/A
                                     No. 2015-CP-40-2339
   De La Rosa v Ford/Cooper         New Mexico, Santa Fe                  17    San Antonio, TX
                                      County First Judicial
                                  District Court No: D-101-        -
                                        CV-2014-02574
   Diegelman v. Kawasaki           US District Court for the       -      18    Charlotte, NC
   Motors Corp                    District of Maryland Case
                                  No. 1:16-CV-01173-MJG
   Dukes v Michelin et al.        19th Judicial Circuit Court,    16      16    Charlotte, NC
                                  St. Lucie, Florida Case No.
                                        12-CA-002094
   Ellison, Joel Alan vs Norman     State of south Carolina,              19    Charlotte, NC
   Earl Ashley and Salem              County of Anderson
   Leasing
   Evans v Cooper                 State of California, County      -      17    Los Angeles, CA
                                  of LA, Case No. BC508861
   Garcia, Porfirio vs Ford,         107th Judicial District       -      16    Akron, Ohio
   Bridgestone, Socia Used Cars     Cameron County, Texas
   II                                Cause No. 2012-DCL-
                                             5269-A
   Garza v MNA, et al.               District Court of Starr       -      19    Austin, TX
                                   County, TX, 229 Judicial
                                   District, CA. No. DC-17-
                                               448
   Gooden v BATO, et al              Wyoming US District           -      16    Akron, Ohio
                                    Court CA No. 15-cv-50
   Guerrero v Auto Nation           Probate Court, No. Two         -      18    Houston, TX
                                   (2), Harris County, Texas
   Hageman vs. Sheridan              District Court of Platte      -      15    Charlotte, NC
                                       County, Nebraska
                                      Case NO. CI 14-204
   Harris v YRC, et al             Circuit Court of St. Louis,     -      19    Charlotte, NC
                                   Missouri Case No. 18SL-
                                        CC01749 Div. 5
   Hart-Gallimore v. Michelin      Circuit Court Miami-Dade        -      16    Atlanta, GA
                                   County, Florida Case No.:
                                       14-019298 CA-01
   Hartman v Hankook              Circuit Court, Lee County,       -      17    Charlotte, NC
                                               FL
   Hartsock v. Goodyear Dunlop      US District Court, South       -      15    Charlotte, NC
                                   Carolina Charleston Div.
                                   Case No.:2:13-cv-00419-
                                              PMD
   Herrera vs. Alamo Concrete,        County Court at law          -      16    Austin, TX
   Michelin                       Number 3, Nueces County,


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              NAME                           VENUE               TRIAL   DEPO     LOCATION
                                    Texas, Cause No. 2014-
                                         CCV-61396-3
   Hofmann vs. Enterprise         State of Minnesota, Fourth       -      16    Pittsburgh, PA
                                     Judicial District Court
                                      No. 27-CV-13-1995
   Holt v Goodyear                Superior Court of Arizona        -      15    Los Angeles, CA
                                     No. CV2013-004191
   Jackson v MNA                       Cause No. 10,603            -      16    Austin, TX
                                     287th Judicial District
                                  Court, Parmer County, TX
   Jackson v YCA & Canyon             California State-San                17    Charlotte, NC,
   Tire                              Bernardino, Case No.         18            San Bernardino,
                                        CIVDS1416256                            CA
   Jimenez, et al v. Con-Way         Nueces County Court,          -      16    San Antonio, TX
   Truckload                        Texas Cause No. 2014-
                                         CCV-61239-1
   Kaur/Singh v Destination            Superior Court of                  18    Charlotte, NC
   Anywhere                       California, County of Santa
                                        Cruz. Case No.
                                           17CV02758
   Kess vs. 4WS                    State of Ohio, County of        -      18    Cleveland, Ohio
                                     Cuyahoga No. CV 17
                                             880029
   Kristensen v Goodyear            State of South Carolina,       -      18    Charlotte, NC
                                  Fourteenth Judicial Circuit
                                  CA NO.: 2016-CP-15-1365
   Lacroix v Cooper                Fifteenth Judicial Court,       -      15    Charlotte, NC
                                      Palm Beach County,
                                  Florida Case No.: 2013 CA
                                             524 AO
   Linton, Sandra vs. Coca Cola    Circuit Court of Jefferson      -      18    Birmingham, AL
                                  County, Alabama CA No.
                                      68-CV-2016-900494
   Mahabirsingh vs Kumho              Fifth Judicial Circuit       -      16    Charlotte, NC
                                      Marion County, FL.
                                    CA No.: 42-2014-0151-
                                              CA-B
   McCoy vs California Dept of    Superior Court of the State     16      16    Oxnard, CA
   Transportation                   of CA. Ventura County
                                       Case No. 56-2014-
                                   00461883-CU-PO-VTA
   McKelvey vs. Hill Tire           State of South Carolina        -      17    Charleston, SC
                                   Dorchester County Case
                                     No. 2012-CP-18-1239
   Medina vs. Michelin et al.       District Court of Dallas       -      16    Austin, TX
                                      County, Texas, 134th
                                        Judicial District
   Morales v Tire Country           State of South Carolina        -      18    Charlotte, NC
                                    County of Chesterfield
                                   CA No.: 2015-CP-13-641
   Morro v Colony Tire              State of South Carolina        -      17    Charlotte, NC
                                  Fourteenth Judicial Circuit
                                  Caseno.: 2015-CP-15-434
   Murch v. Wal-Mart              United States District Court     -      18    Charlotte, NC


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              NAME                              VENUE              TRIAL   DEPO       LOCATION
                                    District of Massachusetts –
                                     Worcester Division Civil
                                    Action No. 4:17-CV-40059
   Muszynski vs. Cooper             Eighteenth Judicial Circuit,     -      15      Charlotte, NC
                                    Seminole County, Floridaa
                                     Case No. 11-CA-2755-10-
                                                   K
   O’Donnell v. Cooper & Town           State of Rhode Island        -      17      Charlotte, NC
   Fair Tire Centers                  Superior Court C.A. No.
                                              PC-10-6621
   Paz v Goodyear                    Superior Court of State of      -     15(2)    Los Angeles, CAL.
                                        Cal. Conty of LA No.
                                               BC512911
   Pechac v Goodyear                State of Arizona, Maricopa       -      18      LA, Cal.
                                      County CV2016-002829
   Pfeiffer, Paula vs Bridgestone   Circuit Court First Judicial     -      16      Akron, Ohio
   Retail                           Circuit, Santa Rosa County,
                                    Florida Case No.: 2014-
                                    CA-000067
   Ridyolph v PACCAR                Texas, Judicial District,        -      18      Charlotte, NC
                                    267th District Court,
                                    Cause No. 16-09-23,889
   Sanchez vs. Hankook                     US District Court         -      16      Charlotte, NC
                                     Nebraska Case No. 8:15-
                                        CV-00142-LSC-FG3
   Sanchez v 24th St Tires          US District Court, Douglas      18      17      Charlotte, NC
                                                County
                                      Nebraska Case No. CI 13
                                                 6327
   Severino v Lazy Dau’s RV              Circuit Court for the       -     15, 16   Charlotte, NC
   Center & Goodyear                 Thirteenth Judicial Circuit
                                       in and for Hillsborough
                                            County, Florida
                                      Case No; 12-CA-017948
   Serrano-Campbell v Julio             District Court of Ward       -      17      Houston, TX
   Martinez and Cooper                   County, Texas, 143rd
                                     Judicial District Court No:
                                          14-02-23253-CVW
   Sleight v Rusty’s                  Second Judicial District       -      15      Charlotte, NC
                                       Court of Weber County
                                    Ogden Department, State of
                                     Utah Case No. 110905721
   Snyder vs. Elaine Petroleum         Phillips County Circuit      18      18      Charlotte, NC
                                           Court, Arkansas
                                          No. 54-CV-13-204
   Thompson v. Hankook              US District Court, Alabama       -      16      Birmingham, AL
                                     Case No.: 2:14-cv-00295-
                                                 CG-M
   Tondryk v BATO                     District Court, Minnesota      -      18      Akron, Ohio
                                            09-CV-17-233
   Thomas vs. HT&W, Inc                  17th Judicial District,     -      18      Ft. Worth, TX
                                    Tarrant County, TX Cause
                                         No. 017-291484-17
   Valdez v MNA                         District Court Hidalgo       -      15      Austin, Texas
                                     County, TX CAUSE NO.

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             NAME                       VENUE               TRIAL     DEPO     LOCATION
                                     C-0869-13-B
   Vang, Pe Chi-A v. Cooper    Minnesota, District Court      15       -     Birmingham, AL
                                   27-CV-10-13554           Hearing          Minneapolis, MN
   Westfield Ins v BATO       US District Court Northern       -       15    Akron, Ohio
                              District of WV, Clarksburg
                              Division Case No. 1:14-cv-
                                      00055-IMK
   Wiese v Carlstar Group     Iowa District Court of Polk      -       18    Charlotte, NC
                                         County
                                Case No. LACL136284
   Witt v MNA                   District Court, Parker,       18       17    Houston, TX
                              Texas CAUSE NO. CV14-
                                          1833




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